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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: 16-60350-CR-DIMITROULEAS

   UNITED STATES OF AMERICA

   vs.

   JENNIFER CASTRO,

         Defendants.
   ___________________________/

                              SENTENCING MEMORANDUM
                           REQUEST FOR DOWNWARD VARIANCE

          COMES NOW the Defendant, JENNIFER CASTRO, by and through her undersigned

   counsel, and respectfully files this sentencing memorandum along with other submissions

   (character letters) previously filed [DE 143] in support of the sentencing hearing scheduled for

   November 3, 2017 at 1:30 pm. At the time of sentencing, the Defendant will be requesting this

   Honorable Court to vary downward from the advisory sentencing guideline range, (235-293

   months imprisonment) and impose the applicable minimum prison sentence that this Court is

   legally bound to impose under the law. Because the Defendant was convicted of 18 U.S.C.

   1591(a)(1), absent any government motion to the contrary, the Court is required to impose a

   minimum 10 year prison sentence.

          First and foremost, just based upon the mere facts of this case, without getting into any of

   the statutory factors identified in 18 U.S.C. § 3553(a), the advisory sentencing guideline range

   reflected in the PSR appears to be completely out of line with any notion of fairness and

   proportionality, not to mention the substantively unreasonableness of such a long sentence.

          Since this Court was in the unique position to actually hear the entire trial testimony, most

   importantly the testimony of the victim, A.E., it would appear that a sentence which varies
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   significantly downward from the exceedingly high advisory guideline range would be reasonable

   and justified under these circumstances. Imposing a 10 year minimum mandatory sentence in this

   case is clearly sufficient to achieve the goals of sentencing.

          This type of sentence clearly promotes respect for the law and sends a strong message to

   others who may engage in similar type of conduct. A minimum mandatory sentence of 10 years

   imprisonment for Ms. Castro will clearly be a major punishment for her, not to mention the other

   harsh ramifications due to her being classified as a sexual offender as a result of her conviction.

   This type of sentence will undoubtedly have a deterrent effect on her as well.

          Jennifer Castro has already filed her legal objections to the PSR [DE 139]. Based upon the

   grounds relied therein, if the Court were to sustain these objections, the advisory guideline range

   for Jennifer Castro would place her in a Total Offense Level of 22 and her imprisonment range

   would be 51 to 63 months. This range by itself is more than sufficient but not greater than necessary

   to achieve the goals of sentencing. Because this guideline range is below the minimum mandatory

   sentence of 10 years imprisonment, pursuant to USSG § 5G1.1(b), the recommended guideline

   sentence becomes the minimum mandatory. A sentence of 10 years imprisonment for Jennifer

   Castro is sufficient and not greater than necessary under the circumstances surrounding this case.

          As this Court is aware, pursuant to United States v. Booker, 543 U.S. 220 (2005), an

   advisory guideline sentence is no longer mandatory and the factors that must be considered in

   imposing an appropriate sentence are set forth in 18 U.S.C. § 3553(a). Booker simply made clear

   that district courts are only required to give “some weight” to the advisory guidelines. Id. Section

   3553(a) provides, inter alia, that "…[t]he court shall impose a sentence sufficient, but not greater

   than necessary. It goes on to further state in part, that "…The court, in determining the particular

   sentence to be imposed, shall consider: (1) the nature of the circumstances of the offense and the
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   history and characteristics of the defendant; (2) the need for the sentence imposed; (A) to reflect

   the seriousness of the offense, to promote respect for the law, and to provide just punishment for

   the offense; (B) to afford adequate deterrence to criminal conduct; (C) To protect the public from

   further crimes of the defendant; and (D) to provide the defendant with needed educational or

   vocational training, medical care, or other correctional treatment in the most effective manner;

   Additionally, the court needs to avoid unwarranted sentencing disparities among defendants with

   similar records who have been found guilty of similar conduct.

          Under the authority of Gall v. United States, 128 S. Ct. 586 (2007), and

   Kimbrough v. United States, 128 S. Ct. 558 (2007), a sentence less than that advised by

   what this Court determines to be the applicable sentencing guideline range is appropriate through

   application of the § 3553(a) factors. Additionally, as set forth in Nelson v. United States, 555

   U.S. 350, 129 S. Ct. 890 (2009), Rita v. United States, 551 U.S. 338, 127 S. Ct. 2456 (2007) and

   Booker supra, a sentencing court may not presume that a sentence within the applicable

   guidelines range is reasonable but added, “[t]he Guidelines are not only not mandatory on

   sentencing courts, they are not to be presumed reasonable.” Nelson v. United States, 555 U.S. at

   352. (emphasis added). Nothing could be further from the truth when applying the facts of this

   case to these holdings set forth by the United States Supreme Court.

          Therefore, taking into consideration the statutory sentencing factors outlined above, such

   a sentence that varies downward from the exorbitant range of 235 to 296 months incarceration to

   that of the 10 year minimum mandatory sentence required pursuant to 18 U.S.C. § 1591 is more

   than sufficient.
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          Jennifer Castro, who is only 27 years old, prior to her recent incarceration a couple of

   months ago, had been raising her (2) two small children in Sunrise, Florida. Her children,

   Jeremiah and Ja’Nyah, are ages 2 and 7, respectively. Jennifer Castro was also in the midst of

   improving her education and attending Broward College, taking (4) four classes during the day

   and working as well. Ms. Castro had a 3.0 GPA at the time she was taken into custody after her

   trial. Ms. Castro had aspirations of becoming a dentist.

          Ms. Castro has been residing in the United States the majority of her life. Although she

   was born here, she traveled to Brazil for only 10 months when she was 17 years old. She

   returned and has been residing in South Florida ever since. Jennifer has two good loving parents

   who have always taught her right from wrong. Her father, Alaor Castro has operated his own

   construction company for the past 10 years. Her mother, Marcilene Caruso, has operated a

   cleaning company for the past 5 years. Jennifer has a half-sister, Monique Smyth, age 28, who

   has recently given birth to a baby girl.

          While Jennifer is not condoning the conduct in which she engaged in during the course of

   the conspiracy, the degree of culpability that should be attributable to her in her role during the

   short period of time that she spent with A.E. is important for the Court to consider in imposing

   sentence. The 2015 Amendment to 18 U.S.C. § 1591 effectively reduced the Government’s

   burden and allowed a prosecution without having to show proof that a defendant actually knew

   the victim had not attained the age of 18 or acted in reckless disregard of the victims true age.

   This unique change in the law should be considered by the Court in assessing culpability and

   ultimately a fair and reasonable sentence to be imposed for Ms. Castro. This amendment has

   turned the offense for which Ms. Castro was charged into an opinion crime based upon the

   perception of a jury. While the jury was told about the facts and heard testimony about what she
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   observed during a relatively short period of time, the jury was also presented with and informed

   of the truth about A.E.’s true age where Ms. Castro was not. The jury could never really be in the

   same position to assess the observations that Ms. Castro did under these circumstances.

          In fact, pursuant to § 5K2.0(a)(4)(b)(2), in child crimes and sexual offenses, under 18 USC

   § 3553(b)(2)(A)(ii), the sentencing court may impose a sentence below the range established by

   the applicable guidelines only if the court finds there exists a mitigating circumstance of a kind, or

   to a degree, that has not been taken in consideration by the Sentencing Commission in formulating

   the guidelines. Such circumstances exist in this case by the mere change in the law as referenced

   above in addition to the facts and circumstances of this specific case. Further, it is not unusual that

   courts have imposed sentences below the advisory guideline range in cases similar to this for a

   variety of reasons. The Defendant would adopt the arguments and statistics outlined in Co-

   Defendants, Jermayne Whyte’s sentencing memorandum [DE 138: 15-20] with regard to this

   particular departure ground and would also rely upon the same facts set forth in the nature and

   circumstances of the offense as they directly apply to Ms. Castro as well.

          While the Co-Defendant points out two recent cases that would show the need to avoid

   unwarranted disparity in sentencing similarly charged defendants, [DE 138: 20-22] there are many

   more cases throughout the United States that have appeared in the media that involve much more

   egregious facts and culpability where the offenders have received no more than and sometimes

   less than a 10 year minimum mandatory prison sentence. These include the following:

          1. Sputnik, Washington – Giedre Ruseckaite, 24 years old, received a sentence of 120

   months imprisonment for helping run her boyfriend’s sex trafficking business while he was in jail

   and smuggled the profits so that he could make payments and telephone calls. According to the

   FBI, Ms. Ruseckaite would give alcohol and drugs to the girls so that they would be able to "work
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   longer without sleep." The two under aged girls in the case were 15 and 17 years old. Sputnik

   News (3/10/15).

          2. Tulsa, Oklahoma – Morgan Palmer, received a sentence of 120 months imprisonment

   for helping her boyfriend by recruiting young girls for sex trafficking. Fox 23 News, Tulsa,

   Oklahoma (3/21/17).

          3. Alexandria, Virginia – Yanira del Carmen Guerrero Andrade, a/k/a “Yadira” or “Litsy”,

   28 years old, received a sentence of 11 years (132 months) imprisonment for recruiting 15 year

   old pregnant runaway teenager and exploiting her into prostitution that was run by a violent street

   gang. Not only did Ms. Andrade know the true age of the victim, she also referred her out to other

   traffickers who exploited the victim as well. It was reported that the 1st day Ms. Andrade trafficked

   the victim she saw 15 customers and by the 3rd day the victim saw 25 customers. U.S. Immigration

   and Customs Enforcement, New Release (5/10/13).

          4. Pittsburgh, Pennsylvania- Poshauntamarin Walker, a former prison guard, 35 years old,

   received a 120 month sentence for sex trafficking (2) minors, one boy and a 16 year old girl. Ms.

   Walker worked with her boyfriend, Rasul Abernathy, a former inmate she met while she was

   working as a prison guard. Ms. Walker would place ads for sex services and drive the minors to

   the dates. Ms. Walker let the minors live with her and her boyfriend, showed her how to dress and

   apply makeup provocatively and would even give the minors marijuana and pain pills to help them

   relax before they would have to perform sex with customers. Both defendants also physically

   abused the minor female and threaten violence if she refused to have sex or run away. Action 4

   News, Pittsburgh, PA (2/11/15).

          5. Dallas, Texas – Erin Patton, 24 years old, received a sentence of 87 months

   imprisonment for helping her “gang member” boyfriend solicit young girls for sex trafficking. Ms.
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   Patton would let the girls, some as young as 14 years old, live with her, provided them with cell

   phones and drive them around to customers that they would get from backpage.com. U.S.

   Attorney’s Office, Northern District of Texas, Press Release (8/22/14).

          When you compare these cases to the instant offense and the circumstances surrounding

   A.E., of which this Court saw and heard first hand, it is hard to believe that Ms. Castro should

   receive more than the 120 month minimum mandatory prison sentence either. To do otherwise

   would show unwarranted disparity in sentencing offenders charged with similar offenses.

          Another factor that this Court can consider in varying downward from the guideline

   range can be found U.S.S.G. § 5H1.6. As also pointed out by Co-Defendant Whyte in his

   sentencing memorandum1 [DE 138: 26-29], the new application note to § 5H1.6, comment. n.1

   (A)(i)-(iii), instructs the court to consider the seriousness of the offense, the defendant’s

   involvement in that offense, and the members of the defendant’s family. Further, comment.

   (n.1(B)(i)-(iv) requires the court to consider if “the defendant’s service of a sentence within the

   guideline range will cause a substantial loss of essential care-taking or essential financial support

   to his family,” that “the loss of care-taking or financial support exceeds the harm ordinarily

   incident to incarceration for a similarly situated defendant,” that “the loss of care-taking or

   financial support is one in which no effective remedial or ameliorative programs reasonably are

   available,” and that “the departure will effectively address the loss of care-taking or financial

   support.”




          1
            Jennifer Castro would adopt all of the same grounds and legal arguments set forth by
   Jermayne Whyte with regard to this essential downward departure ground because she is the
   primary caretaker of both her minor children. There is even a more compelling reason to depart
   based upon Ms. Castro’s role in the children’s lives
          .
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          While Co-Defendant Whyte also argues for a downward variance pursuant to § 5H1.6, it

   is even more appropriate and compelling in the case of Jennifer Castro. Jennifer has (2) two

   minor children that will be without their primary care taker if she is incarcerated for an extended

   period of time as the advisory guidelines suggest. There is no doubt that incarcerating Jennifer

   Castro for this extended period of time will have devastating psychological effects on her

   children not to mention the financial hardships they will suffer growing up without their mother.

   This type of end result does not promote justice for anyone, society or the children.

          Finally, even if this Court imposes the ten year mandatory minimum sentence in this case

   or was in a position to impose less, the conviction under 18 U.S.C. § 1591 will result in Jennifer

   being declared and having to register as a Sexual Offender which triggers “[e]xtensive restrictions

   affecting where [s]he can live and work, and how [s]he will be controlled, [and] will follow

   [her]him for many years.” United States v. D.M., 2013 U.S. Dist. LEXIS 63560, at *3 (E.D.N.Y.

   May 3, 2013). These types of sanctions result in a life long sentence for Ms. Castro long after any

   period of incarceration is served. The ultimate punishment in this type of case is therefore more

   severe than other offenders who are also sentenced to a similar period of incarceration without the

   designation.

          The Court should also know that while serving any period of incarceration in the Bureau

   of Prisons, Ms. Castro will most likely be denied the opportunity to utilize the CorrLinks System,

   a computer based email system that allows offenders to communicate with family and friends.

   Being prohibited from this type of communication creates a more isolating and harsh experience

   in prison.

          Additionally, Ms. Castro, because of her conviction for violation of 18 U.S.C. § 1591,

   because it involves the sexual abuse of a minor, is ineligible for a sentence reduction for
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   completion of the RDAP (Residential Drug Abuse Program).

          Finally, Ms. Castro, who would be assigned a sex offender would not be eligible for

   placement into a halfway house near the end of her prison sentence. This could account for as

   much as 6 to 12 months early release from incarceration.

                                          CONCLUSION

          WHEREFORE, for all of the reasons outlined in this Sentencing Memorandum, the

   Defendant, Jennifer Castro respectfully requests this Honorable Court to vary downward from

   the advisory sentencing guideline range, (235-293 months imprisonment) and impose the

   applicable minimum prison sentence that this Court is legally bound to impose under the law.

                                               Respectfully submitted by,


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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on November 2, 2017, the undersigned attorney electronically

   filed the foregoing document with the Clerk of the Court, United States Attorney's Office, and

   other counsel of record, if any, using CM/ECF and has served same via U.S. Mail to those

   counsel(s) or individuals, if any, who are not authorized to receive electronically Notice of

   Electronic Filing.


                                                        /S/ Jonathan S. Friedman________
                                                        JONATHAN S. FRIEDMAN, ESQ.
